Case 3:17-cv-02278-X        Document 467         Filed 08/07/23       Page 1 of 29   PageID 16358



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    CHARLENE CARTER,                                   §
                                                       §
            Plaintiff,                                 §
                                                       §
    v.                                                 §
                                                       §   Civil Action No. 3:17-CV-2278-X
    TRANSPORT WORKERS UNION                            §
    OF AMERICA, LOCAL 556, and                         §
    SOUTHWEST AIRLINES CO.,                            §
                                                       §
            Defendants.                                §

         MEMORANDUM OPINION AND ORDER GRANTING SANCTIONS

         Southwest Airlines Co. (“Southwest”) fired flight attendant Charlene Carter

 for sending social-media messages about abortion. Southwest claimed the messages

 violated its social-media policies regarding civility. The jury found that Southwest

 violated Title VII’s protections of Carter’s religious speech. The Court ordered Carter

 reinstated, enjoined Southwest from discriminating against the religious beliefs of its

 flight attendants, and ordered Southwest to notify its flight attendants of Title VII’s

 prohibition on religious discrimination. Carter moved for sanctions regarding that

 notice, which is the motion before the Court.

         Specifically, the Court ordered “Southwest . . . to inform Southwest flight

 attendants that, under Title VII, [Southwest] may not discriminate against

 Southwest flight attendants for their religious practices and beliefs.”1               Instead,

 Southwest’s notice said, “[t]he court [] ordered us to inform you that Southwest does


         1 Doc. 375 at 3 (temporarily vacated in part on other grounds).



                                                   1
Case 3:17-cv-02278-X      Document 467       Filed 08/07/23   Page 2 of 29   PageID 16359



 not discriminate against our Employees for their religious practices and beliefs.”2

 Southwest’s notice failed to mention Title VII, that the federal law known as Title VII

 contains a prohibition, and that that prohibition forbids Southwest from

 discriminating against flight attendants for their religious beliefs.          Instead,

 Southwest’s notice communicated that there’s nothing to see here—aside from the

 Court’s bequeathing Southwest a badge of honor for not discriminating (which the

 Court did not do).

       Not content with merely inverting the Court’s notice, Southwest also sent a

 memo to its flight attendants the same day, stating that its employees must abide by

 the types of policies over which Southwest fired Carter and that it believed its firing

 of Carter was justified because of those policies.

       Carter moved for sanctions. [Doc. 382]. Civil sanctions (like those at issue

 here) require a court to determine whether a party violated a court order and, if so,

 what sanction to impose to compel compliance.

       It’s hard to see how Southwest could have violated the notice requirement

 more. Take these modified historical and movie anecdotes. After God told Adam,

 “[Y]ou must not eat from the tree [in the middle of the garden],”3 imagine Adam

 telling God, “I do not eat from the tree in the middle of the garden”—while an apple

 core rests at his feet. Or where Gandalf bellows, “You shall not pass,”4 the Balrog

 muses, “I do not pass,” while strolling past Gandalf on the Bridge of Khazad-dûm.


       2 Doc. 383-2 at 2 (emphasis added).

       3 Genesis 2:17 (NIV).

       4 THE FELLOWSHIP OF THE RING (New Line Cinema 2001).



                                              2
Case 3:17-cv-02278-X    Document 467      Filed 08/07/23   Page 3 of 29   PageID 16360



       In the universe we live in—the one where words mean something—

 Southwest’s notice didn’t come close to complying with the Court’s order. So the

 Court GRANTS Carter’s motion and holds Southwest in civil contempt.

       So how can the Court compel compliance with its order? The first piece of a

 remedy is ordering Southwest to provide this statement verbatim to its flight

 attendants to set the record straight:

              The United States District Court for the Northern District of
              Texas ordered Southwest to issue the following statement to you:
              On December 20, 2022, Southwest’s Legal Department issued an
              e-mail to all flight attendants entitled “Recent Court Decision”
              regarding a federal court judgment against Southwest and
              Transport Workers Union, Local 556. That e-mail said, “[t]he
              court . . . ordered us to inform you that Southwest does not
              discriminate against our Employees for their religious practices
              and beliefs.” The United States District Court for the Northern
              District of Texas subsequently found that the statement’s use of
              “does not discriminate” was incorrect. Accordingly, the Court has
              ordered Southwest’s Legal Department to issue the following
              amended statement:

              Under Title VII, Southwest may not discriminate against
              Southwest flight attendants for their religious practices and
              beliefs, including—but not limited to—those expressed on social
              media and those concerning abortion.

       But Southwest also argues that it has the right to speak, just like it did with

 the memo to flight attendants reminding them to abide by the policies over which it

 unlawfully fired Carter. The Court agrees that Southwest has the right to speak.

 But Southwest has long harbored the view—during trial, after the verdict, and (as

 evinced by its memo to flight attendants) even after the judgment—that its policies

 on civility trump federal laws like Title VII. And if Southwest continues to represent

 to its flight attendants that it may discriminate against them if they violate


                                           3
Case 3:17-cv-02278-X        Document 467         Filed 08/07/23        Page 4 of 29      PageID 16361



 Southwest’s civility policies, Southwest will likely find itself (yet again) on the wrong

 side of the Court’s order. Southwest needs to understand, when communicating with

 its employees, that federal protections for religious freedom override any company

 civility policy. The rule of law and the republican form of government guarantee no

 less.

         Because Southwest’s right to speak when implementing the Court’s injunction

 ensures a continued partnership in the future, and Southwest’s speech and actions

 toward employees demonstrate a chronic failure to understand the role of federal

 protections for religious freedom, the Court concludes that training on religious

 freedom for three lawyers at Southwest the Court finds responsible (Kerrie Forbes,

 Kevin Minchey, and Chris Maberry) is the least restrictive means of achieving

 compliance with the Court’s order. The Alliance Defending Freedom (“ADF”) has

 conducted such training in the past, and the Court deems that appropriate here.5

                                          I. Background

         A jury found that Southwest and Transport Workers Union of America, Local

 556 (“Local 556”) discriminated against Carter for her religious practices or beliefs in

 violation of Title VII. Because “injunctive relief is mandatory” in most Title VII

 cases,6 the Court ordered “Southwest and Local 556 to inform Southwest flight




         5 The Court also awards Carter attorney fees and costs for this contempt proceeding.

         6 E.E.O.C. v. Boh Bros. Constr. Co., L.L.C., 731 F.3d 444, 469–70 (5th Cir. 2013) (en banc).



                                                    4
Case 3:17-cv-02278-X          Document 467        Filed 08/07/23       Page 5 of 29       PageID 16362



 attendants that, under Title VII, [Southwest and Local 556] may not discriminate

 against Southwest flight attendants for their religious practices and beliefs.”7

        Local 556 had no trouble conveying Title VII’s prohibition on discrimination.8

 Southwest, on the other hand, struggled. Although Southwest circulated multiple

 drafts, Kevin Minchey authored a draft that said, “[t]he court [] ordered us to inform

 you that Southwest does not discriminate against our Employees for their religious

 practices and beliefs.”9 Title VII’s prohibition on discrimination was conspicuously

 absent. On December 20, 2022, Southwest sent Minchey’s language to its flight

 attendants in an e-mail (the “Recent Court Decision notice”).

        To make matters worse, Southwest contemporaneously circulated a document

 (the “Inflight Info on the Go memorandum” or “IIOTG memo”) to its flight attendants,

 presenting Southwest’s views on Carter’s case. At the outset, the memo lambasts

 Carter, saying that Southwest believes that her conduct underlying this case “crossed

 the boundaries of acceptable behavior,” was “inappropriate, harassing, and

 offensive,” and “did not adhere to Southwest policies and guidelines.”10 Next, the

 memo states that Southwest is “appealing the decision,” but it did not state that




        7 Doc. 375 at 3.   The Court includes only the portion of that order that is relevant to Carter’s
 contempt motion.
      8 Doc. 383-4 at 2 (telling flight attendants that “[t]he court [] ordered us to inform you that

 TWU Local 556, under Title VII, may not discriminate based on religious practices and beliefs”).
        9 Doc. 383-2 at 2; see also Tr. Trans. at 232, 284.   Although the identity of the drafter was
 initially privileged, multiple witnesses testified to Minchey’s authorship in the public portion of the
 show-cause hearing.
        10 Doc. 383-3 at 2; see also id. (arguing that Carter’s “online conversation . . . created

 unnecessary tension among a workgroup” and contained “extremely graphic and disturbing visuals”).

                                                    5
Case 3:17-cv-02278-X          Document 467       Filed 08/07/23      Page 6 of 29    PageID 16363



 Southwest declined to seek a stay of the injunctive portions of the ruling.11 Next, the

 memo emphasizes that, unlike Carter, Southwest flight attendants “must all adhere

 to” Southwest’s “established policies.”12                The memo concludes by reminding

 Southwest flight attendants that they must “take care of each other . . . in every

 interaction, including those online” and that they must “work to ensure that everyone

 is comfortable in their work environment by consistently displaying [c]ivility . . . at

 all times.”13

        Carter moved for sanctions based on both communications.                     Southwest’s

 position on its communications has evolved. For instance, on December 28, 2022,

 Southwest averred that its Recent Court Decision notice “complied with the spirit

 and wording of the Court’s judgment” and that there was nothing “confusing about

 the wording of Southwest’s notice.”14                  Any variation from the Court-ordered

 statement was merely “a distinction without a difference.”15

        But Southwest changed its tune from recalcitrance to self-flagellation in April

 2023 after the Court scheduled a show-cause hearing and telegraphed its “concern[]

 that Southwest distorted the specificity of the Court’s injunctive relief [] to its own

 flight attendants.”16 With the help of outside counsel, Southwest now acknowledges



        11  Id.; see also id. (relating that an arbitrator had “upheld” the termination and “found
 [Carter’s] postings and messages to be repulsive and beyond the bounds of civility” (cleaned up)).
        12 Id.

        13 Id.

        14 Doc. 383-6 at 3.

        15 Id.; accord Doc. 394 at 9 (averring on January 6, 2023 that Southwest’s use of “does not

 discriminate” didn’t “mislead the reader[s] or cause confusion”).
        16 Doc. 409 at 22.



                                                    6
Case 3:17-cv-02278-X           Document 467       Filed 08/07/23       Page 7 of 29       PageID 16364



 that “it was wrong to issue” the Recent Court Decision notice because it could give

 “the impression that this Court ruled that Southwest had not discriminated against

 an employee because of her religious beliefs.”17

       At the show-cause hearing, the Court heard testimony from three of Southwest’s

 in-house lawyers—Kerrie Forbes, Kevin Minchey, and Chris Maberry—one of

 Southwest’s public-relations employees—Brandy King—and Southwest’s outside

 counsel, Paulo McKeeby.

                                          II. Legal Standards

         Under Federal Rule of Civil Procedure 70, “[i]f a judgment requires a party . . .

 to perform any [] specific act and the party fails to comply,” the Court “may [] hold

 the disobedient party in contempt.”18 A court may also “invoke [its] inherent power

 to sanction” upon “a finding of bad faith or willful abuse of the judicial process.”19

 The party moving for contempt bears the burden of proof,20 and “show cause orders

 do not [] shift the burden to the alleged contemnor.”21 “Upon a finding of civil

 contempt, the Court has broad discretion to impose judicial sanctions that would

 coerce compliance with its orders and compensate the moving party for any losses

 sustained.”22



         17 Doc. 419 at 2.

         18 FED. R. CIV. P. 70(a), (e).

         19 In re Moore, 739 F.3d 724, 729 (5th Cir. 2014) (cleaned up).

         20 Sealed Appellant 1 v. Sealed Appellee 1, 211 F.3d 252, 255 (5th Cir. 2000).

         21 Charitable DAF Fund LP v. Highland Capital Mgmt. LP, No. 3:21-CV-1974-X, 2022 WL

 4538466, at *12 (N.D. Tex. Sept. 28, 2022) (Starr, J.).
        22 Mary Kay Inc. v. Designs by Deanna, Inc., No. 3:00-CV-1058-D, 2013 WL 6246484, at *4

 (N.D. Tex. Dec. 3, 2013) (Fitzwater, J.).

                                                    7
Case 3:17-cv-02278-X       Document 467         Filed 08/07/23       Page 8 of 29       PageID 16365



                                          III. Analysis

        The Court considers (A) whether Southwest violated the Court’s order, and

 (B) the appropriate sanction.

                                A. Violations of Court Order

        This is a civil contempt proceeding, so the Court is concerned with ensuring

 compliance with its orders and not punishing Southwest for past violations of its

 orders (known as criminal contempt). “[T]he elements of civil contempt are (1) that

 a court order was in effect, [] (2) that the order required certain conduct by the

 respondent, and (3) that the respondent failed to comply with the court’s order.”23

 The first two elements are largely uncontested.24 The Court ordered “Southwest . . .

 to inform Southwest flight attendants that, under Title VII, [Southwest] may not

 discriminate against Southwest flight attendants for their religious practices and

 beliefs.”25 And that order required certain conduct—it required Southwest to convey

 that (1) Title VII, (2) prohibited, (3) Southwest, (4) from discriminating, (5) based on

 religious practices or beliefs. The only issue is whether Southwest complied with that

 order. Remarkably, Southwest failed to comply with the requirements of that five-

 part sentence in four ways.

        First, the Recent Court Decision notice said nothing of Title VII—the first

 element of the Court-ordered message. And Title VII wasn’t an extraneous detail.


        23 In re Bradley, 588 F.3d 254, 264 (5th Cir. 2009) (cleaned up) (emphasis omitted).

        24 The Court addresses below Southwest’s argument that the Court’s order lacked specific and

 definite language.
        25 Doc. 375 at 3. Carter also moves for sanctions based on other Court orders. At this time,

 the Court only sanctions Southwest for its failure to issue the Court-ordered notice.

                                                  8
Case 3:17-cv-02278-X         Document 467    Filed 08/07/23     Page 9 of 29     PageID 16366



 The Court was concerned that Southwest appeared “poised to repeat” its

 discriminatory conduct “with other flight attendants.”26 Because the Court had no

 confidence that Southwest would conform its conduct to Title VII in the future, it was

 important to inform Southwest flight attendants that federal law (a higher authority

 than Southwest) prohibited Southwest’s discriminatory conduct. Thus, Southwest’s

 failure to mention Title VII gutted the Recent Court Decision notice from the get-go.

        Second, and most critically, the Recent Court Decision notice failed to convey

 any legal prohibition on discrimination—the second element of the Court-ordered

 notice—by replacing the Court-ordered may not with does not. And that change

 radically shifted the meaning of the notice. May—the word the Court used—means

 “have permission to.”27 So may conveys the presence or absence of a prohibition.

 Conversely, do means to “commit” or to “bring to pass.”28 Do conveys nothing about

 a prohibition. So by replacing may not with does not, Southwest removed the concept

 of a legal prohibition on Southwest’s discrimination. That failure to convey a legal

 prohibition renders the Recent Court Decision notice particularly anemic.

        Third, the Recent Court Decision notice implied that the Court shares

 Southwest’s sunny view of its own conduct. By saying “the court [] ordered us to

 inform you,” the notice suggests that whatever follows that statement is a




        26 Doc. 374 at 28.

        27   May, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/may
 (last visited Aug. 7, 2023).
         28 Do, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/do (last

 visited Aug. 7, 2023).

                                               9
Case 3:17-cv-02278-X            Document 467     Filed 08/07/23        Page 10 of 29       PageID 16367



  communication from the Court.29 Thus, as Southwest now concedes, the conjunction

  of “the court [] ordered us to inform you” with “Southwest does not discriminate”

  suggests that the Court holds the view that Southwest does not discriminate.30 And

  the notion that Southwest’s actions received the Court’s imprimatur suggests that

  the Court perceives that Southwest never violated a legal prohibition. But that’s the

  antithesis of the Court-ordered notice. The Court ordered Southwest to convey a legal

  prohibition (Southwest may not discriminate)—not to imply the lack thereof

  (Southwest does not discriminate).

          Fourth, the juxtaposition of the IIOTG memo and the Recent Court Decision

  notice implies a dearth of legal prohibition on Southwest’s discriminatory conduct vis-

  à-vis flight attendants’ online interactions. Here’s how. The IIOTG memo conveys a

  modus ponens syllogism:

              1. If a flight attendant must follow Southwest’s policies, then that flight
                 attendant may not act as Carter did online.31
              2. Southwest’s flight attendants must follow Southwest’s policies.32

  The necessary inference is obvious—Southwest’s flight attendants may not act

  as Carter did online. Accordingly, given the temporal proximity of the Recent

  Court Decision notice and the IIOTG memo,33 on December 20, 2022, Southwest flight


          29 Doc. 383-2 at 2.

         30 Id.; see also Doc. 419 at 2 (acknowledging that “someone could read [that] sentence . . . and

  have the impression that this Court ruled that Southwest had not discriminated against an employee
  because of her religious beliefs”).
          31 Doc. 383-3 at 2 (conveying that Carter “did not adhere to Southwest policies and guidelines”

  in her online interactions).
           32 Id. (warning that Southwest flight attendants “must all adhere to” Southwest’s “established

  policies and guidelines”).
          33 Flight attendants reasonably would have considered those two messages together because

  Southwest e-mailed those messages to flight attendants back-to-back. Further, the IIOTG memo even

                                                    10
Case 3:17-cv-02278-X       Document 467        Filed 08/07/23      Page 11 of 29      PageID 16368



  attendants read that Southwest “does not discriminate” against its flight attendants

  and that Southwest may prohibit flight attendants from acting as Carter did online.

  But that’s the antithesis of the Court-ordered notice to its flight attendants that Title

  VII prohibits Southwest from discriminating against them for their religious beliefs

  and practices expressed online.

         Although Southwest largely concedes that it was wrong to issue the Recent

  Court Decision notice, Southwest also attempts to justify its statement in four ways.

  None of these four arguments leaves the gate.

         First, Southwest raises the affirmative defense of substantial compliance.34 A

  prospective contemnor can show substantial compliance by showing “reasonably

  diligent and energetic [] attempt[s] to accomplish what was ordered.”35                      But

  Southwest devoted diligence and energy only to circumventing the Court’s order—not

  to complying with it. The in camera documents with privileged information indicate

  that decision was willful—not accidental. For the reasons given in the ex parte

  addendum, Southwest did not substantially comply with the Court’s order.

         Second, Southwest provides a revisionist interpretation, saying that “does not

  discriminate” actually “conveys that Southwest will not discriminate in the




  alluded to the Recent Court Decision notice. Id. (noting that the Court required Southwest to
  “distribute communication to Flight Attendants about the ruling”).
         34  Whitfield v. Pennington, 832 F.2d 909, 914 (5th Cir. 1987) (recognizing that, “[o]nce a
  violation [is] demonstrated, the burden then f[alls] on [the prospective contemnors] to show . . .
  substantial compliance with” the Court’s order).
         35 Bisous Bisous LLC v. Cle Grp., LLC, No. 3:21-CV-1614-B, 2021 WL 4219707, at *3 (N.D.

  Tex. Sept. 16, 2021) (Boyle, J.) (cleaned up). Some courts impose a more-onerous standard. Id.
  Because Southwest flunks even the less-onerous standard, the Court doesn’t resolve that issue.

                                                 11
Case 3:17-cv-02278-X          Document 467         Filed 08/07/23        Page 12 of 29        PageID 16369



  future.”36 That’s wrong. Does is a present-tense verb, so it doesn’t contain a future-

  tense connotation as Southwest propounds.37 In any event, tense is not the issue

  here. The Court ordered Southwest to convey a legal prohibition, and Southwest

  didn’t do that. Southwest’s revisionist interpretation comes up short.

          Third, Southwest argues that its anti-discrimination policy says, “Southwest

  does not tolerate discrimination . . . of any kind.”38 Thus, Southwest contends that

  its use of “does not” forcefully conveys antipathy towards discrimination in a manner

  reminiscent of its anti-discrimination policy.39 Southwest shoots itself in the foot.

  The anti-discrimination policy says Southwest “does not tolerate discrimination.”40

  Tolerate means “to allow to be . . . done without prohibition.”41 While “does not

  tolerate” connotes a prohibition,42 mention of a prohibition is precisely what the

  Recent Court Decision notice lacked.                So Southwest’s anti-discrimination policy

  illustrates the Recent Court Decision notice’s inadequacy.




          36 Doc. 394 at 10 (emphases added).

          37  Does, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/does
  (last visited Aug. 7, 2023). For instance, it’s perfectly consistent to say that “Southwest does not assign
  seats” and “Southwest may, at some point, assign seats.” E.g., Alison Fox, Incoming Southwest CEO
  Says      Assigned      Seats     May     Be      in     Airline’s    Future,     TRAVEL     +    LEISURE,
  https://www.travelandleisure.com/travel-news/new-southwest-airlines-ceo-assigned-seats (last visited
  Aug. 7, 2023) (“Southwest does not currently assign seats . . . . Assigned seating may be in Southwest’s
  future.”).
          38 Doc. 429-1 at 6 (emphasis added).

          39 Tr. Trans. at 380–81, 359 (Minchey testifying that “[u]m, ‘does’ is more direct, more of the

  way that we say things at Southwest when we talk about prohibitions against discrimination”).
          40 Doc. 429-1 at 6 (emphasis added).

          41  Tolerate, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/
  tolerate (last visited Aug. 7, 2023).
         42 Even so, “does not tolerate” wouldn’t do the trick here. Southwest needed to convey that

  Title VII prohibited discrimination—not that Southwest, of its own accord, prohibited discrimination.

                                                      12
Case 3:17-cv-02278-X          Document 467        Filed 08/07/23       Page 13 of 29        PageID 16370



         Fourth, Southwest contends a court can sanction a party only if the party

  violated “a court order requiring in specific and definite language that a person do . . .

  an act” and that a “vague or ambiguous” order won’t do.43 Southwest insinuates that

  the Court-ordered notice was not definite and specific because “the Court did not

  mandate a particular script or statement that Southwest was obligated to publish.”44

  To begin, Southwest tilts at windmills. Sure, the Court didn’t require Southwest to

  use verbatim language, but the Court isn’t sanctioning Southwest for failing to use

  verbatim language.45 In any event, Southwest can’t seem to put its finger on the

  portion of the Court’s order that, it contends, was ambiguous. That’s likely because

  the Court didn’t stutter: Southwest needed to convey Title VII’s prohibition in some

  manner. Because it didn’t, the Court sanctions Southwest.

         The Court GRANTS Carter’s motion for contempt and holds Southwest in

  contempt.

                                   B. Appropriate Sanctions

         To determine the appropriate sanctions, courts consider “(1) the harm from

  noncompliance; (2) the probable effectiveness of the sanction; (3) the financial

  resources of the contemnor and the burden the sanctions may impose; and (4) the

  willfulness of the contemnor in disregarding the court’s order.”46 Carter seeks four


         43 Martin v. Trinity Indus., Inc., 959 F.2d 45, 47 (5th Cir. 1992) (cleaned up).

         44 Doc. 394 at 10.

         45  Southwest could have conveyed Title VII’s prohibition in myriad ways. For instance,
  Southwest could have said, “Title VII prohibits Southwest from discriminating,” “Title VII forbids
  Southwest from discriminating,” “under Title VII, Southwest is proscribed from discriminating,” or
  “Title VII obligates Southwest not to discriminate.”
         46 Lamar Fin. Corp. v. Adams, 918 F.2d 564, 567 (5th Cir. 1990).



                                                    13
Case 3:17-cv-02278-X         Document 467         Filed 08/07/23       Page 14 of 29       PageID 16371



  sanctions—attorney fees, a flat fine, a revised notice, and religious-liberty training.

  The Court considers each in turn.

                                            1. Attorney Fees

         “[A]n assessment of attorney’s fees is undoubtedly within a court’s inherent

  power[.]”47 Here, Southwest has agreed to “reimburse [Carter] for all her reasonable

  attorneys’ fees connected to the Motion for Contempt and Motion to Compel

  proceedings.”48 Accordingly, the Court awards Carter attorney fees and costs and

  directs Carter to file a bill of costs and a motion with proof of fees for the motion-for-

  contempt and motion-to-compel proceedings.

                                               2. Flat Fine

         Carter requests a “punitive sanction[]” of a flat fine in the “high six figures.”49

  But the Court is holding Southwest in civil contempt. “[A] flat, unconditional fine . . .

  is criminal if the contemnor has no subsequent opportunity to reduce or avoid the fine

  through compliance.”50 Accordingly, the Court declines to impose a flat fine.

                                           3. Revised Notice

         Carter wants Southwest to “issue corrective notices,” and she provides specific

  language she’d like Southwest to use.51 Although Southwest has agreed to “re-issue



         47 Chambers v. NASCO, Inc., 501 U.S. 32, 45 (1991).

         48 Doc. 419 at 5.    The motion to compel involves Carter’s request to compel Southwest to
  produce documents regarding the sanctions motion. The Court previously granted the motion to
  compel. In addition to attorney fees for the motion to compel and the motion for sanctions, at the show-
  cause hearing, Southwest orally agreed to reimburse Carter’s reasonable costs as well.
         49 Doc. 428 at 7, 10.

         50 Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 829 (1994) (cleaned up).

         51 Doc. 382 at 14–16.



                                                    14
Case 3:17-cv-02278-X         Document 467        Filed 08/07/23       Page 15 of 29       PageID 16372



  the Email Notice . . . with the ‘may not discriminate’ language,” Southwest opposes

  Carter’s proposed language.52           So the only issue is whether reissuance is an

  appropriate sanction or whether more language is necessary. The Court considers

  the four factors.

         First, Southwest’s noncompliance caused significant harm. The Court had to

  devise its remedies in this case “to vindicate the policies of” Title VII.53 Accordingly,

  it was important for Southwest flight attendants to be aware that Title VII prohibits

  Southwest’s religious discrimination. But Southwest’s Recent Court Decision notice

  suggested that there’s no such thing as Southwest’s religious discrimination, and the

  IIOTG memo suggested that Southwest may, in fact, unabashedly curtail flight

  attendants’ religious beliefs and practices expressed in their online interactions in

  the name of civility. Worse, the Recent Court Decision notice suggested that the

  Court endorsed Southwest’s erroneous views. Accordingly, the Court finds significant

  harm from Southwest’s noncompliance.

         Second, mere reissuance would have little probable effectiveness against that

  harm. To adequately inform flight attendants of Title VII’s protections, any revised

  notice must—at the risk of stating the obvious—reference Title VII. But Southwest

  has not agreed to reference Title VII in its reissued notice. Next, any revised notice

  needs to remedy the fact that, as Southwest concedes, the Recent Court Decision

  notice misrepresented the Court’s position. Southwest has not agreed to clarify that


         52 Doc. 419 at 5.

         53 Gordon v. JKP Enters. Inc., No. 01-20420, 2002 WL 753496, at *7 (5th Cir. Apr. 9, 2002) (per

  curiam) (cleaned up).

                                                   15
Case 3:17-cv-02278-X          Document 467        Filed 08/07/23       Page 16 of 29    PageID 16373



  misrepresentation. Lastly, any revised notice needs to highlight the error in the

  Recent Court Decision notice. Here’s why: Multiple e-mails on a single topic pose a

  significant risk of confusing people. Sans any highlighting of the error in the previous

  message, Southwest’s flight attendants would likely harbor confusion about the

  reissued notice. Accordingly, mere reissuance lacks probable effectiveness.

         Third, Southwest has vast financial resources, and there’s no evidence that a

  more extended statement would meaningfully cost Southwest anything more than

  reissuance.

         Fourth, Southwest’s disregard of the Court’s order was willful.                       When

  confronted with its error, Southwest doubled down for months, claiming that Carter’s

  complaint constituted “a distinction without a difference.”54 Unsurprisingly, then, at

  no point has Southwest maintained that its “does not discriminate” language was an

  inadvertent mistake. And, for the reasons described in the ex parte addendum,

  Southwest cannot with a straight face chalk up its language to a mistake or

  inadvertence. Southwest’s disregard of the Court’s order was willful. Accordingly,

  the Court concludes that mere reissuance is an inadequate sanction.

         Southwest lodges one objection, namely that “a particular statement would

  violate Southwest’s First Amendment right against compelled speech.”55                      Under




         54 Doc. 383-6 at 3; accord Doc. 394 at 9 (averring on January 6, 2023 that Southwest’s use of

  “does not discriminate” didn’t “mislead the reader[s] or cause confusion”).
         55 Doc. 394 at 18.



                                                    16
Case 3:17-cv-02278-X          Document 467          Filed 08/07/23       Page 17 of 29       PageID 16374



  strict scrutiny,56 a governmental entity may compel speech only when the speech is

  “narrowly tailored to promote the government’s compelling interest.”57

          First, there’s a compelling governmental interest in informing flight

  attendants of their rights under Title VII.                Title VII requires courts to fashion

  “remedies [] devised to vindicate the policies of [Title VII].”58 And one of Title VII’s

  policies is to “eliminat[e] discrimination.”59 To begin to do that, the Court sought to

  inform flight attendants of Southwest’s prior discrimination—by having Southwest

  provide the jury verdict and the Court’s judgment—and inform flight attendants of

  Title VII’s prohibition on Southwest’s future discrimination. But Southwest did

  effectively the opposite. It warranted that it does not discriminate against its flight

  attendants and then implied in the IIOTG memo that it may, in fact, discriminate

  against its flight attendants in the future if they are uncivil in its opinion. That

  language obfuscated the fact of Southwest’s prior discrimination and utterly failed to

  convey Title VII’s prohibition. In a word, Southwest stymied Title VII’s policies with

  Carter and continues to do so now. The Court must remedy that. And, as noted, the

  only effective remedy is to call attention to the error in the Recent Court Decision


          56 Lesser scrutiny likely applies here. For instance, two courts have rejected First Amendment
  challenges to court-ordered notices, finding that the notices constituted commercial speech, which is
  subject to lesser scrutiny. See Test Masters Educ. Servs., Inc. v. Robin Singh Educ. Servs., Inc., 799
  F.3d 437, 453 (5th Cir. 2015), on reh’g, No. 13-20250, 2015 WL 13768849 (5th Cir. Oct. 22, 2015);
  Barajas v. Acosta, No. H-11-3862, 2012 WL 1952261, at *4 (S.D. Tex. May 30, 2012). Likewise,
  regulation of attorney speech is often subject to lesser scrutiny. Hersh v. United States ex rel. Mukasey,
  553 F.3d 743, 756 (5th Cir. 2008) (“[T]he Supreme Court has held that attorney speech may be subject
  to diminished First Amendment protection[.]”). But because neither party engages in any meaningful
  First Amendment analysis, the Court assumes, arguendo, that strict scrutiny applies.
          57 Hersh, 553 F.3d at 768.

          58 Gordon, 2002 WL 753496, at *7 (cleaned up).

          59 Meyer v. Brown & Root Constr. Co., 661 F.2d 369, 373 (5th Cir. 1981) (cleaned up).



                                                     17
Case 3:17-cv-02278-X        Document 467         Filed 08/07/23       Page 18 of 29       PageID 16375



  notice and then to convey Title VII’s prohibition. There’s a compelling governmental

  interest in vindicating Title VII’s policies in that manner.60

         Second, the compelled speech is narrowly tailored to vindicate Title VII’s

  policies. As noted, a mere reissued statement alone would serve only to confuse flight

  attendants. To vindicate Title VII’s policies, the Court must highlight the error in

  the Recent Court Decision notice and then accurately convey Title VII’s prohibition.

  But to ensure that that speech remains narrowly tailored, the Court will not require

  further language. For instance, Carter has requested a compelled communication

  that includes an apology, a summary of the jury’s verdict, and multiple admissions

  that the Recent Court Decision notice was misleading. Those statements would not

  be narrowly tailored to vindicate Title VII’s policies, so the Court will not compel

  those statements.61

         Southwest cites a slew of cases in support of its compelled-speech objection,

  but all are inapposite. Initially, Southwest cites two unpublished Central District of

  California cases.       Although both cases recognized possible First Amendment

  implications of court-ordered speech, neither found that a court-ordered statement

  violated the First Amendment or conducted any First Amendment analysis—they

  ruled on other grounds.62


         60 Cf. Hersh, 553 F.3d at 748, 766 (finding that Congress had a sufficiently compelling interest

  in requiring “debt relief agencies to disclose specific basic information about bankruptcy to assisted
  persons whom they are counseling through the bankruptcy process” to “ensur[e] that debtors who are
  contemplating filing for bankruptcy have some basic knowledge about the process”).
         61 See Woodruff v. Ohman, 29 F. App’x 337, 346 (6th Cir. 2002) (“[A]n apology will little serve

  the purposes of Title VII.”).
         62 See Cameroon Ass’n of Victims of Ambazonia Terrorism Inc. v. Ambazonia Found. Inc., No.

  CV 20-1115 PA (ASx), 2020 WL 4852858, at *4 (C.D. Cal. Feb. 6, 2020) (concluding that a court-ordered

                                                   18
Case 3:17-cv-02278-X         Document 467         Filed 08/07/23       Page 19 of 29       PageID 16376



         Next, Southwest cites cases where courts declined to compel apologies because

  “an apology will little serve the purposes of Title VII.”63 But those cases didn’t deal

  with the First Amendment. And, in any event, the Court is not requiring Southwest

  to apologize.

         Next, Southwest cites cases prohibiting courts from ordering public readings

  of court-ordered notices because public readings create “[t]he ignominy of a forced

  public . . . confession of sins.”64 But the Court isn’t mandating that Minchey publicly

  proclaim the errors of his ways whilst detained in stocks at the town square. And,

  tellingly, the same courts that criticized public readings approved of written notices.65

         Southwest’s cases are inapposite. Accordingly, the Court ORDERS Southwest

  to provide the following notice verbatim to its flight attendants.

         The United States District Court for the Northern District of Texas
         ordered Southwest to issue the following statement to you: On
         December 20, 2022, Southwest’s Legal Department issued an e-mail to
         all flight attendants entitled “Recent Court Decision” regarding a
         federal court judgment against Southwest and Transport Workers
         Union, Local 556. That e-mail said, “[t]he court . . . ordered us to inform
         you that Southwest does not discriminate against our Employees for
         their religious practices and beliefs.” The United States District Court
         for the Northern District of Texas subsequently found that the
         statement’s use of “does not discriminate” was incorrect. Accordingly,


  statement “raises significant First Amendment considerations” without conducting any First
  Amendment analysis); Riley’s Am. Heritage Farms v. Claremont Unified Sch. Dist., No. EDCV 18-
  2185JGB (SHKx), 2020 WL 5792475, at *4 (C.D. Cal. Aug. 27, 2020) (recognizing the “irony in [a] First
  Amendment case” where plaintiffs requested a court-ordered statement, but only concluding that
  “[s]uch a remedy does not meet the standards . . . for injunctive relief under Section 1983”).
         63 Woodruff, 29 F. App’x at 346.

         64 HTH Corp. v. N.L.R.B., 823 F.3d 668, 675 (D.C. Cir. 2016) (cleaned up).

          65 See, e.g., Int’l Union of Elec., Radio & Mach. Workers, AFL-CIO v. N. L. R. B., 383 F.2d 230,

  232 (D.C. Cir. 1967) (“Amongst the approved remedies are the requirements that the employer mail
  to each employee the notice which informs the employee of his statutory right to be free from coercion,
  interference, and restraint, and to post copies of this same notice.”).

                                                    19
Case 3:17-cv-02278-X          Document 467         Filed 08/07/23        Page 20 of 29        PageID 16377



          the Court has ordered Southwest’s Legal Department to issue the
          following amended statement:

          Under Title VII, Southwest may not discriminate against Southwest
          flight attendants for their religious practices and beliefs, including—but
          not limited to—those expressed on social media and those concerning
          abortion.

                                  4. Religious-Liberty Training

          Training that’s tailored to address a contemptuous action is a commonplace

  sanction.66 Training “in the relevant subject area” is particularly appropriate when

  a party “does not appear to comprehend” an area of the law.67 In light of the four

  factors, religious-liberty training is an appropriate sanction.

          First, as noted, there’s been significant harm from Southwest’s noncompliance.

  Second, as noted, Southwest’s disregard of the Court’s order was willful. Third,



          66 See, e.g., Hardy v. Asture, No. 1:11CV299, 2013 WL 566020, at *8 (W.D.N.C. Feb. 13, 2013)

  (requiring an attorney “to attend eight hours of continuing legal education courses on the subject of
  the practice of social security litigation in federal court”); Petrisch v. JP Morgan Chase, 789 F. Supp.
  2d 437, 456 (S.D.N.Y. 2011) (ordering an attorney “to attend four hours of continuing legal education
  courses on the subject of federal practice and procedure within one year of this decision”); Balthazar
  v. Atl. City Med. Ctr., 137 F. App’x 482, 490 (3d Cir. 2005) (approving a district court’s order that an
  attorney “attend two continuing legal education courses, one entitled Federal Practice and Procedure,
  the other entitled Attorney Professionalism and Rules of Professional Conduct”); see also, e.g., In re
  Marshall, No. 3:15-MC-88-JWD, 2016 WL 81484, at *11 (M.D. La. Jan. 7, 2016) (requiring an attorney
  to “attend . . . six hours of ethics and/or professionalism training”); Ball v. LeBlanc, 300 F.R.D. 270,
  273 (M.D. La. 2013) (“[P]ossible sanctions [] include . . . ethics training[.]”); Moser v. Bret Harte Union
  High Sch. Dist., 366 F. Supp. 2d 944, 988 (E.D. Cal. 2005) (“Ms. Yama is . . . ordered to attend 20 hours
  of CLE ethics training[.]”).
          67 Edmonds v. Seavey, 379 F. App’x 62, 64–65 (2d Cir. 2010) (“[C]ounsel does not appear to

  comprehend the function of the civil RICO statute. Thus, the district court’s chosen sanction is
  particularly apropos: requiring that counsel attend CLE courses in the relevant subject area.”); see In
  re Burghoff, 374 B.R. 681, 686–87 (Bankr. N.D. Iowa 2007) (“It appears that the concept of the
  inappropriateness of plagiarism is lost on Mr. Cannon which unfortunately reveals a fundamental
  professional deficiency . . . . Because Mr. Cannon does not appreciate the nature of plagiarism, . . . Mr.
  Cannon’s deficiency calls for the [] method of instruction offered in a law school course on professional
  responsibility.”); Managed Care Sols., Inc. v. Essent Healthcare, Inc., No. 09-60351, 2011 WL 4433570,
  at *3 (S.D. Fla. Sept. 21, 2011) (requiring ethics training because, “[b]ased on Warrick’s appearance
  before this Court, his conduct reflects a significant failure to understand his ethical responsibilities,
  particularly the exercise of independent judgment, and a profound lack of basic competence”).

                                                      20
Case 3:17-cv-02278-X          Document 467           Filed 08/07/23         Page 21 of 29   PageID 16378



  religious-liberty training will impose a minimal burden on Southwest. In particular,

  the Court is not requiring Southwest to pay for that training. And, as noted below,

  the Court requires Southwest to arrange for a representative of ADF to fly to Dallas.68

  Flying one person to and from a city imposes a minimal burden on one of the United

  States’s major airlines.

          Lastly, religious-liberty training has significant probable effectiveness.

  Southwest habitually points to its policies as a pretext for discrimination.69 For

  instance, in the IIOTG memo, Southwest maintained its belief that firing Carter was

  justified because she “did not adhere to Southwest policies.”70 Even in these show-

  cause proceedings, Southwest couldn’t resist crowing about recent revisions to its

  policies.71 But “whether or not Southwest followed its policies, it violated federal

  law.”72 And “Southwest [continually] misses th[at] point.”73

          Here’s how that concern relates to Carter’s contempt motion. Southwest did

  two things wrong here: Southwest issued (1) the erroneous “does not discriminate”

  language, and (2) the IIOTG memo, strongly implying that Southwest may

  permissibly discriminate against flight attendants if they violate Southwest’s




           To further reduce any burden on Southwest, the Court is not requiring Southwest’s
          68

  employees to travel to receive their training.
          69 See, e.g., Doc. 374 at 13 n.54 (recognizing that Southwest “earnestly recommit[ted] to

  following the same policies that got it in trouble with the jury”).
          70 Doc. 383-3 at 2 (conveying Southwest’s belief that Carter “did not adhere to Southwest

  policies and guidelines” in her online interactions).
          71 See, e.g., Doc. 429 at 5; see also, e.g., Doc. 429-1 at 2–6.

          72 Doc. 374 at 13 n.54.

          73 Id.



                                                        21
Case 3:17-cv-02278-X           Document 467     Filed 08/07/23      Page 22 of 29      PageID 16379



  policies. Here, the contemnor’s conduct is worse than the mine-run contempt easily

  “cured” by a remedial notice: Southwest did not evade the Court’s order; Southwest

  inverted the Court’s order. In the future, Southwest could follow its Court-ordered

  remedial statement with a second IIOTG memo lambasting Carter for “not adher[ing]

  to Southwest policies” and mandating that all flight attendants “adhere to”

  Southwest’s “established policies.”74         Because Southwest maintains the right to

  speak, the Court needs to impose some sanction that will help ensure that Southwest

  will not again attempt to undermine the Court-ordered notice with another citation

  to its policies.

         That’s where religious-liberty training comes in. When a litigant “does not

  appear to comprehend” a legal concept, training in “the relevant subject area”

  constitutes a “particularly apropos” sanction.75             As explained in the ex parte

  addendum, Forbes, Minchey, and Maberry were at the root of the problem.

  Accordingly, the Court directs Southwest to send those individuals to religious-liberty

  training in the hopes that, on round two, that training will coerce compliance with

  (instead of the continued undermining of) the Court’s orders in this case.76

         Unfortunately, this isn’t the first time an entity has needed religious-liberty

  training after it attempted to suppress speech. Fortunately, there are esteemed non-




         74 Doc. 383-3 at 2.

         75 Edmonds, 379 F. App’x at 64–65.

          76 Cf. Doc. 383-6 at 2–3 (requiring that new flight attendants—and apparently Carter—attend

  four weeks of training to ensure they understand Southwest’s policies and practices for flight
  attendants). The Court finds that religious-liberty training and the verbatim notice are the least
  severe sanctions adequate to coerce compliance with its order.

                                                  22
Case 3:17-cv-02278-X         Document 467             Filed 08/07/23     Page 23 of 29   PageID 16380



  profit organizations that are dedicated to preserving free speech and religious

  freedom.77 And some of those entities laudably provide training free of charge for

  those who have struggled to respect religious liberties in the manner federal law

  requires. For instance, ADF recently agreed to “conduct a First Amendment training

  session” for three professors who allegedly discriminated against a student for

  posting “materials to her social media accounts” and sending “messages to fellow

  students” containing, among other things, religious views.78 And, in that case, the

  defendants allegedly cited their school policies as a reason to curtail religious

  speech.79 Because this case also involves an entity’s citation to its policies in an

  apparent attempt to end-run legal protections against religious discrimination based

  on online activities, ADF is particularly well-suited to train Southwest’s employees

  who are most responsible for the communications at issue here.

         Southwest raises four counterarguments.                       First, Southwest’s witnesses

  repeatedly averred that they do, in fact, know that federal law trumps Southwest’s

  policies.80 Au contraire. Southwest has never disclaimed its view in the IIOTG memo

  that its discrimination against Carter was justified by Southwest’s policies. In any

  event, Southwest refused to confess that federal law trumps its policies until it caught




         77 See, e.g., Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719, 1722

  (2018) (recognizing that ADF was counsel on a successful Supreme Court appeal).
        78 DeJong v. Pembrook, ALLIANCE DEFENDING FREEDOM, https://adfmedia.org/case/dejong-v-

  pembrook (last visited Aug. 7, 2023).
         79 Complaint at 46, DeJong v. Pembrook, No. 3:22-cv-1124-NJR (S.D. Ill. May 31, 2022), ECF

  No. 1 (“Defendants applied Policies 3C6 and 3C7 when they imposed the no-contact orders against Ms.
  DeJong.”).
         80 See, e.g., Tr. Trans. at 321, 356, 381.



                                                       23
Case 3:17-cv-02278-X         Document 467        Filed 08/07/23          Page 24 of 29     PageID 16381



  wind of the Court’s skepticism. At this point, Southwest’s tardy “[p]rotestations o[f]

  repentance and reform timed to . . . blunt the force of a [contempt order] offer

  insufficient assurance that the practice sought to be enjoined will not be repeated.”81

  Southwest’s gallows conversion doesn’t fly here.

         Second, Southwest contends that “training [] will not secure compliance with

  the judgment” because the “judgment did not order Southwest to attend religious-

  liberty training.”82 But the implied proposition is asinine: A sanction need not be co-

  extensive with a prior order—it need only coerce compliance with a prior order.83

         Third, Southwest contends that “religious-liberty training would not

  compensate [] Carter for any loss.”84 That’s true, but inapposite. The Court orders

  training to coerce compliance with its orders, not to compensate Carter.

         Fourth, the Court held a civil contempt proceeding—not a criminal contempt

  proceeding. And “a judgment of civil contempt is conditional[] and may be lifted if

  the contemnor purges himself of the contempt.”85                   Court-ordered training isn’t




           81 James v. Stockham Valves & Fittings Co., 559 F.2d 310, 354–55 (5th Cir. 1977) (cleaned up).

  It’s also not clear that Southwest’s agreement to treat Carter “like every other employee” is an
  assurance it will comply with the law. See id. at 355.
         82 Doc. 429 at 3.

          83 E.g., Marshall, 2016 WL 81484, at *11 (requiring ethics training that the court had not

  previously ordered); Hampton v. Henderson, No. 93-5318, 1994 WL 14070, at *1 (5th Cir. Jan. 3, 1994)
  (per curiam) (recognizing that a court can sanction a litigant by prohibiting them from proceeding in
  forma pauperis even where the court had not previously ordered such conduct). Conditional
  imprisonment and fines also provide obvious examples of civil sanctions that are not co-extensive with
  the prior orders for which compliance is sought.
         84 Doc. 429 at 3.

         85 United States v. Rizzo, 539 F.2d 458, 463 (5th Cir. 1976).



                                                    24
Case 3:17-cv-02278-X         Document 467          Filed 08/07/23       Page 25 of 29       PageID 16382



  conditional. Thus, Southwest’s argument goes, training isn’t a civil sanction—it’s

  criminal.

          At the outset, even on its face, Southwest’s citation to caselaw divulges the

  error in Southwest’s reasoning: “[A] judgment of civil contempt” must be

  conditional—but that doesn’t mean that every sanction must be avoidable.86

  Unsurprisingly, then, courts routinely impose unconditional, civil sanctions with

  which a party must comply in order to purge itself of contempt.87 Here, Southwest

  may purge itself of contempt but only after attending religious-liberty training.

          But more fundamentally, Southwest misunderstands the legal framework.

  “[W]hether a contempt is civil or criminal turns on the character and purpose of the

  sanction involved.”88 In that analysis, conditionality isn’t the lodestar. Instead,

  contempt is civil in character if it “compensates the party in whose favor the breached

  order was issued[] or coerces compliance with the court’s orders.”89

          Conditionality factors in where the “character” of the sanction isn’t self-

  evident. For instance, when a court fines or imprisons a contemnor, those sanctions

  “to some extent punish . . . as well as coerce . . . obedience.”90                  To render those


          86 Id.

          87  For instance, courts have “authority . . . to award attorneys’ fees in a civil contempt
  proceeding.” Cook v. Ochsner Found. Hosp., 559 F.2d 270, 272–73 (5th Cir. 1977). Attorney fees aren’t
  conditional, but they’re still civil in nature. Likewise, when a litigant makes “repetitive and frivolous
  filings,” the Court may unconditionally forbid that litigant from proceeding in forma pauperis.
  Hampton, 1994 WL 14070, at *1.
          88 Bagwell, 512 U.S. at 827 (cleaned up); see also Hicks on Behalf of Feiock v. Feiock, 485 U.S.

  624, 631 (1988) (recognizing that the “the critical feature[]” in determining whether a sanction is civil
  or criminal is “the character of the relief” at issue).
          89 In re Hipp, Inc., 895 F.2d 1503, 1515 (5th Cir. 1990).

          90 Bagwell, 512 U.S. at 828.



                                                     25
Case 3:17-cv-02278-X              Document 467    Filed 08/07/23      Page 26 of 29       PageID 16383



  sanctions coercive instead of punitive, courts must introduce some coercive

  characteristic. Enter conditionality. “A conditional penalty . . . is civil because it is

  specifically designed to compel the doing of some act.”91 In short, courts ascertain a

  coercive characteristic of conditional penalties because the contemnor “has it in his

  power to avoid any penalty” by complying with a court order.92

           Tellingly, Southwest doesn’t cite any case requiring a training sanction to be

  conditional—it only cites cases about fines and imprisonment.93 That’s likely because

  training is an intrinsically “coercive sanction[]” that helps “obtain compliance with

  [a] [c]ourt’s [o]rder.”94 Here’s how that works: In some cases, a contemnor’s conduct

  shows that the contemnor “does not appear to comprehend” an area of the law with

  which it must comply.95 In such situations, training “in the relevant subject area”96

  helps the contemnor to “appreciate the nature of” the prohibited conduct.97 Armed

  with a better understanding of the legal area at issue, a contemnor can better conform

  its conduct to the law. Accordingly, no conditionality is necessary to render training

  coercive.




           91 Hicks, 485 U.S. at 633.

           92 Id. (cleaned up).

          93 Doc. 429 at 2 (citing Rizzo, 539 F.2d at 463 and Gompers v. Buck’s Stove & Range Co., 221

  U.S. 418, 442 (1911)); see also Rizzo, 539 F.2d at 462 (recognizing that the district court ordered
  “incarceration” and “a fine”); Gompers, 221 U.S. at 449 (considering fines and imprisonment).
           94 Portland v. City of Portland, No. 3:20-CV-00917-HZ, 2021 WL 982613, at *2 (D. Or. Mar. 16,

  2021).
           95 Edmonds, 379 F. App’x at 64–65.

           96 Id. at 65.

           97 Burghoff, 374 B.R. at 686–87.



                                                    26
Case 3:17-cv-02278-X        Document 467         Filed 08/07/23       Page 27 of 29       PageID 16384



         Unsurprisingly, then, courts routinely send parties and lawyers to training as

  a coercive civil sanction.98 The Court declines to hold that, in order to impose that

  routine sanction, courts must empanel a jury, appoint an independent prosecutor,

  and give all the other procedural protections accompanying a criminal contempt

  proceeding.99

                                          IV. Conclusion

         For the foregoing reasons, the Court GRANTS Carter’s motion for sanctions

  and holds Southwest in contempt. The Court ORDERS Southwest to take the

  following actions, and Southwest may purge itself of this contempt judgment by

  taking all of the following four actions:

         1. Southwest must send Kerrie Forbes, Kevin Minchey, and Chris Maberry to

             religious-liberty training. That training shall be conducted by ADF at a

             time set by ADF, it shall last a minimum of 8 hours of instructional time,

             and it must be completed by August 28, 2023.100 Southwest must transport

             ADF’s representative to Dallas and be responsible for any food,

             accommodation, or other travel expenses for ADF’s representative.




          98 See, e.g., Marshall, 2016 WL 81484, at *1, 11 (holding a lawyer “in civil contempt” and

  requiring ethics training); Portland, 2021 WL 982613, at *2 (finding that training of a party was a
  “coercive sanction” that helps “obtain compliance with [a] [c]ourt’s [o]rder”).
         99 Ravago Ams. L.L.C. v. Vinmar Int’l Ltd., 832 F. App’x 249, 256–57 (5th Cir. 2020) (per

  curiam) (noting the requirement of “involvement of an independent prosecutor,” “proof beyond a
  reasonable doubt,” and sometimes even “the right to [a] jury trial” in criminal contempt proceedings
  (cleaned up)).
          100 See, e.g., Roy v. Am. Prof’l Mktg., Inc., 117 F.R.D. 687, 693 (W.D. Okla. 1987) (requiring

  several attorneys “to attend the seminar on November 23, 1987, entitled ‘Practicing in the Western
  District’”).

                                                   27
Case 3:17-cv-02278-X         Document 467         Filed 08/07/23        Page 28 of 29       PageID 16385



          2. Southwest must e-mail to each of its flight attendants the following

              language verbatim:

                  The United States District Court for the Northern District
                  of Texas ordered Southwest to issue the following
                  statement to you: On December 20, 2022, Southwest’s
                  Legal Department issued an e-mail to all flight attendants
                  entitled “Recent Court Decision” regarding a federal court
                  judgment against Southwest and Transport Workers
                  Union, Local 556. That e-mail said, “[t]he court . . . ordered
                  us to inform you that Southwest does not discriminate
                  against our Employees for their religious practices and
                  beliefs.” The United States District Court for the Northern
                  District of Texas subsequently found that the statement’s
                  use of “does not discriminate” was incorrect. Accordingly,
                  the Court has ordered Southwest’s Legal Department to
                  issue the following amended statement:

                  Under Title VII, Southwest may not discriminate against
                  Southwest flight attendants for their religious practices
                  and beliefs, including—but not limited to—those expressed
                  on social media and those concerning abortion.

              Southwest may not issue that statement until Forbes, Minchey, and

              Maberry have completed the above-mentioned training.101

          3. Southwest shall file a declaration on the docket by September 5, 2023 at

              5:00 PM, certifying that Forbes, Minchey, and Maberry all attended that

              training and providing proof that Southwest issued the required verbatim

              statement only after Forbes, Minchey, and Maberry attended religious-

              liberty training.102


          101 The Court requires Southwest to attend training before issuing the verbatim notice so that,

  to the extent Southwest feels compelled to issue any new communication similar to the IIOTG memo
  contemporaneously with the verbatim notice, it has the benefit of training before it issues that new
  communication.
          102 See, e.g., Roy, 117 F.R.D. at 693 (“[C]ounsel will provide proof of attendance in the form of

  an affidavit filed with this Court.”); Moser, 366 F. Supp. 2d at 988 (“Ms. Yama is . . . ordered to . . .

                                                     28
Case 3:17-cv-02278-X         Document 467         Filed 08/07/23        Page 29 of 29       PageID 16386



          4. Southwest must pay Carter’s reasonable attorney fees and costs for the

              motion-for-contempt and motion-to-compel proceedings.

          IT IS SO ORDERED this 7th day of August, 2023.




                                                 ___________________________________
                                                 BRANTLEY STARR
                                                 UNITED STATES DISTRICT JUDGE




  submit proof of such training to the Court by December 31, 2005.”); Ass’n of Women with Disabilities
  Advocating Access v. Mouet, No. 06CV2240JM(LSP), 2007 WL 951837, at *1 (S.D. Cal. Mar. 23, 2007)
  (“Upon completion of the four hours of classes, Mr. Pinnock is instructed to file with the court a notice
  indicating that he has complied with the continuing education sanction.”).

                                                     29
